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                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

DALLAS BUYERS CLUB, LLC,                                             Case No.: 3:15-cv-00907-AC

               Plaintiff,                          PLAINTIFF’S FIRST REQUEST FOR
                                                   ADMISSIONS
v.
                                                   FRCP 36
INTEGRITY COMPUTER SERVICES,
 a/k/a JOHN HUSZAR                                 Nos. 1 - 12

               Defendant.

                     PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS

       Pursuant to and accordance with the rules and standards of the Federal Rules of Civil

Procedure and related Local Rules, in particular, Fed. R. Civ. Pro. 36, Plaintiffs request

defendant respond to the following requests for admissions under oath and serve responses on

counsel for plaintiffs at the offices of Crowell Law, 943 Liberty St. SE, P.O. Box 923, Salem,

OR 97308, or in such place and manner as the parties agree or the Court directs.

       By agreement of the parties, these requests will be deemed served on April 12, 2016.

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                                             ADMISSIONS

1.     Admit plaintiff’s motion picture, Dallas Buyers Club, contains original material that is
copyrightable subject matter under the laws of the United States.

Answer:



2.     Admit plaintiff’s motion picture, Dallas Buyers Club, is currently offered for sale in commerce.

Answer:



3.      Admit plaintiff’s motion picture, Dallas Buyers Club, is easily discernable as a professional
work as it was created using professional performers, directors, cinematographers, lighting technicians,
and set designers.

Answer:



4.      Admit that defendant John Huszar has used the BitTorrent protocol for the exchange of files with
others in violation of U.S. copyright law.

Answer:



5.     Admit that prior to the filing of this suit John Huszar was familiar with the use of BitTorrent for
the downloading of media.

Answer:



6.      Admit that John Huszar, without permission or consent of the authors, willfully copied and
distributed multiple copyrighted files through a public peer-to-peer network.

Answer:



7.     Admit that John Huszar, without permission or consent of plaintiff copied and distributed at least
portions of the motion picture Dallas Buyers Club through a public BitTorrent network.

Answer:


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8.      Admit that in January of 2016, John Huszar, willfully, intentionally and irretrievably deleted all
records in his possession of any activity occurring through IP address 173.11.1.241, including the
deletion and over-write of both the hard drive of the computer in use and the backup RAID drive.

Answer:



9.       Admit that in January of 2016, John Huszar took efforts to preserve other data on the physical
machine that had access to IP address 173.11.1.241, and preserved other data on the physical machine,
irretrievably deleting only those portions that had access to IP address 173.11.1.241.

Answer:



10.     Admit that in the 2015 calendar year, only one physical computer or virtual machine had access
to IP address 173.11.1.241, and in January of 2016, John Huszar intentionally and irretrievably deleted
both the primary hard drive and the backup of that physical computer and virtual machine, destroying all
of his records of activity on IP address 173.11.1.241.

Answer:



11.    Admit that prior to April 1, 2015, John Huszar, was aware that the TOR network was used for
criminal activity, including the infamous “Silk Road” black market known for its illegal trafficking.

Answer:




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                                 CERTIFICATE OF SERVICE

       I certify that the foregoing document is being served on the date indicated below by
transmitting a copy thereof by U.S. Mail and electronic mail to defendant as follows:

       Benjamin Justus
       LYBECK PEDREIRA & JUSTUS, PLLC
       7900 Southeast 28th Street, Suite 500
       Mercer Island, WA 98040

       Email including MS Word File:        ben@lpjustus.com

DATED this 6th day of April, 2016.


                                     Crowell Law

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                                     Of Attorneys for Plaintiff




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